                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      )
ROGER BOWERS, Individually and On                     )
Behalf of All Others Similarly Situated,              ) Case No. 18-10086
                                                      )
                                     Plaintiff,       )
                        v.                            )
                                                      ) CLASS ACTION COMPLAINT
TESARO INCORPORATED, LEON O.                          )
MOULDER JR. and TIMOTHY R.                            )
PEARSON,                                              ) JURY TRIAL DEMANDED
                                                      )
                                  Defendants.         )

                                CLASS ACTION COMPLAINT

       Plaintiff Roger Bowers (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by his undersigned attorneys, for his complaint against Defendants, alleges the

following based upon personal knowledge as to himself and his own acts, and information and

belief as to all other matters, based upon, inter alia, the investigation conducted by and through

his attorneys, which included, among other things, a review of the Defendants’ public

documents, conference calls and announcements made by Defendants, United States Securities

and Exchange Commission (“SEC”) filings, wire and press releases published by and regarding

Tesaro, Inc. (“Tesaro” or the “Company”), analysts’ reports and advisories about the Company,

and information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION


       1.      This is a federal securities class action on behalf of a class consisting of all

persons other than Defendants who purchased or otherwise acquired Tesaro securities between

March 14, 2016 and January 12, 2018, both dates inclusive (the “Class Period”), seeking to

recover damages caused by Defendants’ violations of the federal securities laws and to pursue

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remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its top

officials.

        2.     Tesaro is an oncology-focused biopharmaceutical company that identifies,

acquires, develops, and commercializes cancer therapeutics and oncology supportive care

products in the United States.

        3.     Founded in 2010, the Company is based in Waltham, Massachusetts, and its

securities trade on the NASDAQ Global Select (“NASDAQ”) under the ticker symbol “AFL.”

        4.     At all relevant times, Tesaro’s product portfolio has included Varubi (rolapitant),

a neurokinin-1 (NK-1) receptor antagonist for the prevention of chemotherapy induced nausea

and vomiting. In 2015, the U.S. Food and Drug Administration (“FDA”) approved an oral

version of Varubi. On March 14, 2016, Tesaro announced the submission of a New Drug

Application (“NDA”) for an intravenous formulation of Varubi to the FDA. On October 25,

2017, Tesaro announced the FDA’s approval of its intravenous version of Varubi.

        5.     Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) substantial

undisclosed health risks, including anaphylaxis and anaphylactic shock, were associated with

Tesaro’s intravenous formulation of Varubi; and (ii) as a result of the foregoing, Tesaro’s shares

traded at artificially inflated prices during the Class Period, and class members suffered

significant losses and damages.

        6.     On January 12, 2018, post-market, Tesaro announced that it had updated the U.S.

labeling for the intravenous formulation of Varubi after receiving reports of “[a]naphylaxis,


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anaphylactic shock and other serious hypersensitivity reactions . . . in the post-marketing setting,

some requiring hospitalization.” The Company further stated that it “has issued a Dear

Healthcare Professional (DHCP) letter.”

        7.      On this news, Tesaro’s share price fell $4.07 or 5.85%, to close at $65.52 on

January 16, 2018.

        8.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.


                                 JURISDICTION AND VENUE

        9.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

        10.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and Section 27 of the Exchange Act.

        11.     Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b) as Tesaro’s principal executive offices are located within

this Judicial District.

        12.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.




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                                            PARTIES

       13.     Plaintiff, as set forth in the attached Certification, acquired Tesaro securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

       14.     Defendant Tesaro is incorporated in Delaware, with principal executive offices

located at 1000 Winter Street, Suite 3300, Waltham, Massachusetts 02451. Tesaro’s securities

trade on the NASDAQ under the ticker symbol “TSRO.”

       15.     Defendant Leon O. Moulder Jr. (“Moulder”) co-founded and has served at all

relevant times as the Company’s Chief Executive Officer (“CEO”) and Director.

       16.     Defendant Timothy R. Pearson (“Pearson”) has served at all relevant times as the

Company’s Chief Financial Officer (“CFO”) and Executive Vice President.

       17.     The Defendants referenced above in ¶¶ 15-16 are sometimes referred to herein as

the “Individual Defendants.”

       18.     The Individual Defendants possessed the power and authority to control the

contents of Tesaro’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of the Company’s SEC filings and press

releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with the Company, and their access to material information available to them but not to

the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations

being made were then materially false and misleading. The Individual Defendants are liable for

the false statements and omissions pleaded herein.



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                                 SUBSTANTIVE ALLEGATIONS

                                          Background

       19.     Tesaro is an oncology-focused biopharmaceutical company that identifies,

acquires, develops, and commercializes cancer therapeutics and oncology supportive care

products in the United States.

       20.     At all relevant times, Tesaro’s product portfolio has included Varubi (rolapitant),

NK-1 receptor antagonist for the prevention of chemotherapy induced nausea and vomiting. In

2015, the FDA approved an oral version of Varubi.

        Materially False and Misleading Statements Issued During the Class Period

       21.     The Class Period begins on March 14, 2016, when Tesaro issued a press release

entitled “Tesaro Submits New Drug Application for Intravenous Rolapitant to the U.S. Food and

Drug Administration.” The press release stated, in relevant part:

       WALTHAM, Mass., March 14, 2016 (GLOBE NEWSWIRE) -- TESARO, Inc.
       (NASDAQ:TSRO), an oncology-focused biopharmaceutical company, today
       announced that it has submitted the New Drug Application (NDA) for an
       intravenous (IV) formulation of rolapitant to the U.S. Food and Drug
       Administration (FDA).

       ...

       "TESARO is committed to advancing new therapeutic options for patients with
       cancer, and the NDA submission for IV rolapitant represents a significant
       milestone for the Company," said Mary Lynne Hedley, Ph.D., President and COO
       of TESARO. "By developing an intravenous formulation of rolapitant, our goal is
       to provide oncologists additional flexibility in their choice of antiemetic
       regimens."

       The NDA for IV rolapitant is supported by data from a clinical program that
       enrolled more than 400 subjects and included a bioequivalence study and several
       other supportive non-clinical and clinical studies. TESARO anticipates a standard
       12-month review timeline for the IV rolapitant NDA.




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       22.      On May 6, 2016, Tesaro filed a quarterly report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended March 31, 2016

(the “Q1 2016 10-Q”). For the quarter, Tesaro reported a net loss of $90.77 million, or $2.22 per

diluted share, on revenue of $307,000, compared to a net loss of $48.51 million, or $1.30 per

diluted share, on zero revenue for the same period in the prior year.

       23.      In the Q1 2016 10-Q, Tesaro stated, in part:

       A summary description of our current products and product candidates is as follows:

       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,
             or CINV. The oral form of rolapitant, VARUBI, has been approved for
             commercialization in the United States, and we are also developing an
             intravenous, or IV, formulation of rolapitant. In March 2016, we submitted a
             new drug application, or NDA, for IV rolapitant to the FDA. We also
             submitted a Marketing Authorisation Application, or MAA, for oral rolapitant
             to the European Medicines Agency, or EMA, in March 2016.

       24.      The Q1 2016 10-Q contained signed certifications pursuant to the Sarbanes-Oxley

Act of 2002 (“SOX”) by the Individual Defendants, stating that “[t]he information contained in

the [Q1 2016 10-Q] fairly presents, in all material respects, the financial condition and results of

operations of the Company.”

       25.      On August 5, 2016, Tesaro filed a quarterly report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended June 30, 2016 (the

“Q2 2016 10-Q”). For the quarter, Tesaro reported a net loss of $58.41 million, or $1.28 per

diluted share, on revenue of $36.56 million, compared to a net loss of $60.56 million, or $1.51

per diluted share, on zero revenue for the same period in the prior year.

       26.      In the Q2 2016 10-Q, Tesaro stated, in part:

        A summary description of our current products and product candidates is as
        follows:


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       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,
             or CINV. The oral form of rolapitant, VARUBI, has been approved for
             commercialization in the United States, and we are also developing an
             intravenous, or IV, formulation of rolapitant. In March 2016, we submitted a
             new drug application, or NDA, for IV rolapitant to the FDA which was
             accepted for review in May 2016, with a target Prescription Drug User Fee
             Act, or PDUFA, date of January 11, 2017. We also submitted a Marketing
             Authorisation Application, or MAA, for oral rolapitant to the European
             Medicines Agency, or EMA, in March 2016, which the EMA has validated.

       27.      The Q2 2016 10-Q contained signed certifications pursuant to SOX by the

Individual Defendants, stating that “[t]he information contained in the [Q2 2016 10-Q] fairly

presents, in all material respects, the financial condition and results of operations of the

Company.”

       28.      On November 4, 2016, Tesaro filed a quarterly report on Form 10-Q with the

SEC, reporting the Company’s financial and operating results for the quarter ended September

30, 2016 (the “Q3 2016 10-Q”). For the quarter, Tesaro reported a net loss of $101.15 million,

or $1.98 per diluted share, on revenue of $3.73 million, compared to a net loss of $66.59 million,

or $1.66 per diluted share, on revenue of $87,000 for the same period in the prior year.

       29.      In the Q3 2016 10-Q, Tesaro stated, in part:

       On September 1, 2015, the Company’s first commercial product, VARUBI®
       (rolapitant), was approved by the United States Food and Drug Administration, or
       FDA, in combination with other antiemetic agents in adults for the prevention of
       delayed nausea and vomiting associated with initial and repeat courses of
       emetogenic cancer chemotherapy, including, but not limited to, highly emetogenic
       chemotherapy. The Company commenced sales of VARUBI during the fourth
       quarter of 2015. In March 2016, the Company submitted a new drug application,
       or NDA, for intravenous rolapitant to the FDA which was accepted for review in
       May 2016, with a target Prescription Drug User Fee Act, or PDUFA, date of
       January 11, 2017. The Company also submitted a Marketing Authorization
       Application, or MAA, for oral rolapitant to the European Medicines Agency, or
       EMA, in March 2016, which the EMA has accepted for review.

       ...


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       A summary description of our current products and product candidates is as
       follows:

       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,
             or CINV. The oral form of rolapitant, VARUBI, has been approved for
             commercialization in the United States, and we are also developing an
             intravenous, or IV, formulation of rolapitant. In March 2016, we submitted a
             new drug application, or NDA, for IV rolapitant to the FDA which was
             accepted for review in May 2016, with a target Prescription Drug User Fee
             Act, or PDUFA, date of January 11, 2017. We also submitted a Marketing
             Authorization Application, or MAA, for oral rolapitant to the European
             Medicines Agency, or EMA, in March 2016, which the EMA has accepted for
             review.

       30.      The Q3 2016 10-Q contained signed certifications pursuant to SOX by the

Individual Defendants, stating that “[t]he information contained in the [Q3 2016 10-Q] fairly

presents, in all material respects, the financial condition and results of operations of the

Company.”

       31.      On February 28, 2017, Tesaro filed an annual report on Form 10-K with the SEC,

reporting the Company’s financial and operating results for the quarter and year ended December

31, 2016 (the “2016 10-K”). For the quarter, Tesaro reported a net loss of $136.94 million, or

$2.60 per diluted share, on revenue of $4.23 million, compared to a net loss of $_75.76 million,

or $1.89 per diluted share, on revenue of $230 million for the same period in the prior year. For

2016, Tesaro reported a net loss of $387.47 million, or $8.13 per diluted share, on revenue of

$44.82 million, compared to a net loss of $251.41 million, or $6.38 per diluted share, on revenue

of $317,000 for 2015.

       32.      In the 2016 10-K, Tesaro stated, in part:

       A summary description of our current products and product candidates is as
       follows:

       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,

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    or CINV.       The oral form of rolapitant, VARUBI, is approved for
    commercialization in the United States, and we are developing an IV
    formulation of rolapitant. We submitted a new drug application, or NDA, for
    rolapitant IV to the FDA in March 2016. In January 2017, the FDA issued a
    Complete Response Letter requesting additional information regarding the in
    vitro release method utilized to characterize the drug product and demonstrate
    comparability of drug product produced by our two proposed commercial
    manufacturers of rolapitant IV that were included in the NDA. We will need
    to provide the additional requested information to the FDA in the form of a
    resubmission of the NDA, which the FDA will need to deem acceptable, in
    order for the NDA to be approved and for us to be allowed to market and sell
    rolapitant IV in the U.S. We also submitted a Marketing Authorization
    Application, or MAA, for oral rolapitant to the European Medicines Agency,
    or EMA, in March 2016. In February 2017, the EMA’s Committee for
    Medicinal Products for Human Use, or CHMP, rendered a positive opinion for
    our MAA for oral rolapitant, for the prevention of delayed nausea and
    vomiting associated with highly and moderately emetogenic chemotherapy in
    adults.

Our Strategy

       Our strategy is to leverage the experience and competencies of our
management team to identify, acquire and develop promising drug candidates and
to commercialize cancer therapeutics that are potentially safer and more effective
than existing treatments.

       The key components of our strategy are:

       ...

•   Successfully Commercialize Rolapitant for the Prevention of CINV. On
    September 1, 2015, our first commercial product, VARUBI, was approved by
    the FDA, for use in combination with other antiemetic agents in adults for the
    prevention of delayed nausea and vomiting associated with initial and repeat
    courses of emetogenic cancer chemotherapy. We launched VARUBI in
    November 2015. Our rolapitant program also includes the development of an
    IV formulation, for which we submitted an NDA to the FDA in March 2016.
    We also submitted an MAA for oral rolapitant to the EMA in March 2016.
    Pending regulatory approvals, we intend to launch rolapitant IV in the U.S.,
    and oral rolapitant in Europe, in the second half of 2017. We intend to
    establish rolapitant as part of the standard of care for the prevention of CINV
    in patients who, consistent with established treatment guidelines, could benefit
    from an NK-1 receptor antagonist, in addition to treatment with a 5-HT3
    receptor antagonist plus a corticosteroid.



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       33.      The 2016 10-K contained signed certifications pursuant to SOX by the Individual

Defendants, stating that “[t]he information contained in the [2016 10-K] fairly presents, in all

material respects, the financial condition and results of operations of the Company.”

       34.      On May 9, 2017, Tesaro filed a quarterly report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended March 31, 2017

(the “Q1 2017 10-Q”). For the quarter, Tesaro reported a net loss of $136.73 million, or $2.55

per diluted share, on revenue of $3.07 million, compared to a net loss of $90.98 million, or $2.22

per diluted share, on revenue of $300,000 for the same period in the prior year (as revised).

       35.      In the Q1 2017 10-Q, Tesaro stated, in part:

       A summary description of our current products and product candidates is as follows:

       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,
             or CINV. The oral form of rolapitant, VARUBI, is approved in the United
             States for use in combination with other antiemetic agents in adults for the
             prevention of delayed nausea and vomiting associated with initial and repeat
             courses of emetogenic cancer chemotherapy, including, but not limited to,
             highly emetogenic chemotherapy. The European Commission also approved
             oral rolapitant for the prevention of delayed nausea and vomiting associated
             with highly and moderately emetogenic chemotherapy in adults in April 2017.
             We will market rolapitant in the European Union under the brand name
             VARUBY®. We are also developing an intravenous, or IV, formulation of
             rolapitant. We submitted a new drug application, or NDA, for rolapitant IV to
             the United States Food and Drug Administration, or FDA, in March 2016. In
             January 2017, the FDA issued a Complete Response Letter requesting
             additional information regarding the in vitro release method utilized to
             characterize the drug product and demonstrate comparability of drug product
             produced by our two proposed commercial manufacturers of rolapitant IV that
             were included in the NDA. We resubmitted the NDA with such information
             to the FDA in April 2017, and the FDA will need to review and approve the
             resubmitted NDA in order for us to be allowed to market and sell rolapitant IV
             in the U.S.

       36.      The Q1 2017 10-Q contained signed certifications pursuant to SOX by the

Individual Defendants, stating that “[t]he information contained in the [Q1 2017 10-Q] fairly


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presents, in all material respects, the financial condition and results of operations of the

Company.”

       37.      On August 8, 2017, Tesaro filed a quarterly report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended June 30, 2017 (the

“Q2 2017 10-Q”). For the quarter, Tesaro reported a net loss of $152.06 million, or $2.82 per

diluted share, on revenue of $29.46 million, compared to a net loss of $59.15 million, or $1.29

per diluted share, on revenue of $35.81 million for the same period in the prior year (as revised).

       38.      In the Q2 2017 10-Q, Tesaro stated, in part:

       A summary description of our current products and product candidates is as
       follows:

       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,
             or CINV. The oral form of rolapitant, VARUBI, is approved in the United
             States for use in combination with other antiemetic agents in adults for the
             prevention of delayed nausea and vomiting associated with initial and repeat
             courses of emetogenic cancer chemotherapy, including, but not limited to,
             highly emetogenic chemotherapy. The European Commission also approved
             oral rolapitant for the prevention of delayed nausea and vomiting associated
             with highly and moderately emetogenic chemotherapy in adults in April 2017.
             We market rolapitant in the European Union under the brand name
             VARUBY®, and commenced sales of VARUBY in May 2017 on a country-
             by-country basis. We are also developing an intravenous, or IV, formulation
             of rolapitant. We submitted a new drug application, or NDA, for rolapitant IV
             to the United States Food and Drug Administration, or FDA, in March 2016.
             In January 2017, the FDA issued a Complete Response Letter requesting
             additional information regarding the in vitro release method utilized to
             characterize the drug product and demonstrate comparability of drug product
             produced by our two proposed commercial manufacturers of rolapitant IV that
             were included in the NDA. We resubmitted the NDA with such information
             to the FDA in April 2017, and the FDA will need to review and approve the
             resubmitted NDA in order for us to be allowed to market and sell rolapitant IV
             in the U.S. The target Prescription Drug User Fee Act action date is October
             25, 2017.

       39.      The Q2 2017 10-Q contained signed certifications pursuant to SOX by the

Individual Defendants, stating that “[t]he information contained in the [Q2 2017 10-Q] fairly

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presents, in all material respects, the financial condition and results of operations of the

Company.”

       40.     On October 25, 2017, Tesaro issued a press release entitled “Tesaro Announces

U.S. FDA Approval of Varubi® IV for Delayed Nausea and Vomiting Associated With Cancer

Chemotherapy.” In the press release, Tesaro stated, in relevant part:

       WALTHAM, Mass., Oct. 25, 2017 (GLOBE NEWSWIRE) -- TESARO, Inc.
       (NASDAQ:TSRO), an oncology-focused biopharmaceutical company, today
       announced that the U.S. Food and Drug Administration (FDA) has approved
       VARUBI® (rolapitant) IV in combination with other antiemetic agents in adults
       for the prevention of delayed nausea and vomiting associated with initial and
       repeat courses of emetogenic cancer chemotherapy, including, but not limited to,
       highly emetogenic chemotherapy. Delayed nausea and vomiting can occur
       anytime between 25 and 120 hours following chemotherapy, and is often
       extremely debilitating.

       VARUBI is a highly selective and competitive antagonist of human substance
       P/neurokinin 1 (NK-1) receptors, which play an important role in the delayed
       phase of chemotherapy-induced nausea and vomiting (CINV). With a long plasma
       half-life of approximately seven days, a single dose of VARUBI, as part of an
       antiemetic regimen, significantly improved complete response (CR) rates in the
       delayed phase of CINV. Results from three Phase 3 trials of VARUBI oral tablets
       demonstrated a significant reduction in episodes of vomiting or use of rescue
       medication during the 25- to 120-hour period following administration of highly
       emetogenic and moderately emetogenic chemotherapy regimens. In addition,
       patients who received VARUBI reported experiencing less nausea that interfered
       with normal daily life and fewer episodes of vomiting or retching over multiple
       cycles of chemotherapy. Results from a bioequivalence trial demonstrated
       comparability of the IV and oral formulations of VARUBI.

       ...

       “The approval of VARUBI IV represents a significant milestone for TESARO.
       The majority of NK-1 receptor antagonist doses are administered intravenously in
       the U.S., and with the introduction of VARUBI IV, we now offer healthcare
       providers a unique, easy-to-use option that fits well into standard operating
       practices of a chemotherapy clinic or hospital,” said Mary Lynne Hedley, Ph.D.,
       President and COO of TESARO. “We will continue our efforts to expand
       awareness of delayed chemotherapy-induced nausea and vomiting, and plan to
       make this important medicine available next month.”




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       “Many healthcare providers tend to believe that CINV is no longer an unmet need
       but the reality is that more than half of patients treated with emetogenic
       chemotherapy experience delayed CINV, even when prescribed standard
       preventative therapies, such as a 5-HT3 receptor antagonist and dexamethasone,”
       said Lee Schwartzberg, M.D., Professor of Medicine at University of Tennessee
       Health Science Center. “The FDA approval of VARUBI IV gives doctors and
       nurses a new option to help protect their patients from these often preventable
       side effects.”

       41.      On November 7, 2017, Tesaro filed a quarterly report on Form 10-Q with the

SEC, reporting the Company’s financial and operating results for the quarter ended September

30, 2017 (the “Q3 2017 10-Q”). For the quarter, Tesaro reported a net loss of $25.28 million, or

$0.47 per diluted share, on revenue of $142.77 million, compared to a net loss of $87.85 million,

or $1.72 per diluted share, on revenue of $16.99 million for the same period in the prior year (as

revised).

       42.      In the Q3 2017 10-Q, Tesaro stated, in part:

       A summary description of our current products and product candidates is as follows:

       •     Rolapitant is a potent and long-acting neurokinin-1, or NK-1, receptor
             antagonist for the prevention of chemotherapy induced nausea and vomiting,
             or CINV. The oral form of rolapitant, VARUBI, is approved in the United
             States for use in combination with other antiemetic agents in adults for the
             prevention of delayed nausea and vomiting associated with initial and repeat
             courses of emetogenic cancer chemotherapy, including, but not limited to,
             highly emetogenic chemotherapy. In October 2017, the United States Food
             and Drug Administration, or FDA, approved our new drug application, or
             NDA, for the intravenous, or IV, formulation of rolapitant. We expect to
             commence sales of VARUBI IV in the U.S. in the fourth quarter of 2017. The
             European Commission also approved oral rolapitant for the prevention of
             delayed nausea and vomiting associated with highly and moderately
             emetogenic chemotherapy in adults in April 2017. We market rolapitant in
             the European Union under the brand name VARUBY®, and commenced sales
             of VARUBY in May 2017 on a country-by-country basis.

       43.      The Q3 2017 10-Q contained signed certifications pursuant to SOX by the

Individual Defendants, stating that “[t]he information contained in the [Q3 2017 10-Q] fairly



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presents, in all material respects, the financial condition and results of operations of the

Company.”

       44.     The statements referenced in ¶¶ 21-43 were materially false and misleading

because Defendants made false and/or misleading statements, as well as failed to disclose

material adverse facts about the Company’s business, operational and compliance policies.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

(i) substantial undisclosed health risks, including anaphylaxis and anaphylactic shock, were

associated with Tesaro’s intravenous formulation of Varubi; and (ii) as a result of the foregoing,

Tesaro’s shares traded at artificially inflated prices during the Class Period, and class members

suffered significant losses and damages.

                                 The Truth Begins to Emerge

       45.     On January 12, 2018, post-market, Tesaro issued a press release entitled “Tesaro

Announces Updates to the U.S. Prescribing Information for Varubi® (rolapitant) Injectable

Emulsion.” The press release stated, in relevant part:

       WALTHAM, Mass., Jan. 12, 2018 (GLOBE NEWSWIRE) -- TESARO, Inc.
       (NASDAQ:TSRO), an oncology-focused biopharmaceutical company, today
       announced that it has updated the VARUBI® (rolapitant) injectable emulsion
       package insert in collaboration with the U.S. Food and Drug Administration
       (FDA). VARUBI injectable emulsion is a substance P/neurokinin (NK-1) receptor
       antagonist indicated for the prevention of delayed nausea and vomiting associated
       with chemotherapy in adults. The changes to the labeling include modifications to
       the CONTRAINDICATIONS, WARNINGS and PRECAUTIONS, and
       ADVERSE REACTIONS sections.

       Following its introduction in late November 2017, TESARO estimates that at
       least 7,000 doses of VARUBI injectable emulsion have been administered to
       patients receiving emetogenic chemotherapy in the United States. Anaphylaxis,
       anaphylactic shock and other serious hypersensitivity reactions have been
       reported in the postmarketing setting, some requiring hospitalization. These
       reactions have occurred during or soon after the infusion of VARUBI injectable
       emulsion. Most reactions have occurred within the first few minutes of
       administration.

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       Patient safety is a paramount priority for TESARO. In its commitment to
       ensuring patients and healthcare professionals are aware of the label update,
       TESARO has issued a Dear Healthcare Professional (DHCP) letter. This letter,
       as well as the updated full prescribing information, has been posted on the
       VARUBI website (www.varubirx.com). Additionally, members of the TESARO
       field force will be calling on healthcare professionals to communicate this
       important new safety information.

      Healthcare providers and patients are encouraged to report adverse events in
      patients taking VARUBI injectable emulsion to TESARO at 1-844-4-TESARO
      (1-844-483-7276). TESARO’s medical information department may be reached at
      1-844-4-TESARO (1-844-483-7276) to address any questions from healthcare
      providers about the information contained in this release, or the safe and effective
      use of VARUBI injectable emulsion.
(Emphases added.)

       46.       On this news, Tesaro’s share price fell $4.07 or 5.85%, to close at $65.52 on

January 16, 2018.

       47.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.


                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       48.       Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired Tesaro securities during the Class Period (the “Class”); and were damaged

upon the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants

herein, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest.

       49.       The members of the Class are so numerous that joinder of all members is

impracticable.    Throughout the Class Period, Tesaro securities were actively traded on the
                                                15
NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Tesaro or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        50.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        51.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        52.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

              •    whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

              •    whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Tesaro;

              •    whether the Individual Defendants caused Tesaro to issue false and misleading
                   financial statements during the Class Period;

              •    whether Defendants acted knowingly or recklessly in issuing false and
                   misleading financial statements;

              •    whether the prices of Tesaro securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and


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              •    whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

        53.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        54.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

              •    Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

              •    the omissions and misrepresentations were material;

              •    Tesaro securities are traded in an efficient market;

              •    the Company’s shares were liquid and traded with moderate to heavy volume
                   during the Class Period;

              •    the Company traded on the NASDAQ and was covered by multiple analysts;

              •    the misrepresentations and omissions alleged would tend to induce a reasonable
                   investor to misjudge the value of the Company’s securities; and

              •    Plaintiff and members of the Class purchased, acquired and/or sold Tesaro
                   securities between the time the Defendants failed to disclose or misrepresented
                   material facts and the time the true facts were disclosed, without knowledge of
                   the omitted or misrepresented facts.

        55.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        56.       Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State


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of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                           COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        57.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        58.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        59.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the

other members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and employed devices, schemes and artifices to

defraud in connection with the purchase and sale of securities. Such scheme was intended to,

and, throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and

other Class members, as alleged herein; (ii) artificially inflate and maintain the market price of

Tesaro securities; and (iii) cause Plaintiff and other members of the Class to purchase or

otherwise acquire Tesaro securities and options at artificially inflated prices. In furtherance of

this unlawful scheme, plan and course of conduct, Defendants, and each of them, took the

actions set forth herein.




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        60.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Tesaro securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Tesaro’s finances and business prospects.

        61.         By virtue of their positions at Tesaro, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

        62.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Tesaro, the Individual Defendants had knowledge of the details of Tesaro’s

internal affairs.

        63.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.        Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of


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Tesaro. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Tesaro’s

businesses, operations, future financial condition and future prospects.          As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of Tesaro securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning Tesaro’s business and financial condition which were

concealed by Defendants, Plaintiff and the other members of the Class purchased or otherwise

acquired Tesaro securities at artificially inflated prices and relied upon the price of the securities,

the integrity of the market for the securities and/or upon statements disseminated by Defendants,

and were damaged thereby.

       64.     During the Class Period, Tesaro securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Tesaro securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff

and the other members of the Class known the truth, they would not have purchased or otherwise

acquired said securities, or would not have purchased or otherwise acquired them at the inflated

prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class,

the true value of Tesaro securities was substantially lower than the prices paid by Plaintiff and

the other members of the Class. The market price of Tesaro securities declined sharply upon

public disclosure of the facts alleged herein to the injury of Plaintiff and Class members.




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          65.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          66.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          67.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

          68.   During the Class Period, the Individual Defendants participated in the operation

and management of Tesaro, and conducted and participated, directly and indirectly, in the

conduct of Tesaro’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Tesaro’s misstatement of income and expenses and false financial

statements.

          69.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Tesaro’s

financial condition and results of operations, and to correct promptly any public statements

issued by Tesaro which had become materially false or misleading.

          70.   Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press


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releases and public filings which Tesaro disseminated in the marketplace during the Class Period

concerning Tesaro’s results of operations.        Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Tesaro to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling persons” of Tesaro

within the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

the unlawful conduct alleged which artificially inflated the market price of Tesaro securities.

       71.        Each of the Individual Defendants, therefore, acted as a controlling person of

Tesaro. By reason of their senior management positions and/or being directors of Tesaro, each

of the Individual Defendants had the power to direct the actions of, and exercised the same to

cause, Tesaro to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Tesaro and possessed the

power to control the specific activities which comprise the primary violations about which

Plaintiff and the other members of the Class complain.

       72.        By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Tesaro.


                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

       B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;




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       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.


                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: January 17, 2018
                                                        Respectfully submitted,
                                                        ANDREWS DEVALERIO LLP

                                                        /s/ Daryl Andrews
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                                                        Proposed Liasion Counsel for the Class

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1/17/2018                                            JotForm · Submissions: Tesaro (TSRO)

  Submission Date
  2018-01-17 08:41:41



   CERTIFICATION PURSUANT TO FEDERAL
   SECURITIES LAWS

  1.    I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or
  Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities
  Litigation Reform Act of 1995.

  2. I have reviewed a Complaint against against Tesaro, Inc. (“Tesaro” or the “Company”), as well as media and
  analyst reports about the Company. Plaintiff believes and authorizes the filing of a comparable complaint on my
  behalf.

  3. I did not purchase or acquire Tesaro securities at the direction of plaintiffs’ counsel or in order to participate in
  any private action arising under the Securities Act or Exchange Act.

  4.   I am willing to serve as a representative party on behalf of a Class of investors who purchased or acquired
  Tesaro securities during the class period, including providing testimony at deposition and trial, if necessary. I
  understand that the Court has the authority to select the most adequate lead plaintiff in this action.

  5. To the best of my current knowledge, the attached sheet lists all of my transactions in Tesaro securities during the
  Class Period as specified in the Complaint.

  6. During the three-year period preceding the date on which this Certification is signed, I have not sought to serve
  as a representative party on behalf of a class under the federal securities laws.

  7.    I agree not to accept any payment for serving as a representative party on behalf of the class as set forth in the
  Complaint, beyond my pro rata share of any recovery, except such reasonable costs and expenses directly relating to
  the representation of the class as ordered or approved by the Court.

  8.    I declare under penalty of perjury that the foregoing is true and correct.




  Name

  Print Name
  Roger Bowers



  Acquisitions

  Configurable list (if none enter none)
 (see attached)




  Sales



  Documents & Message

https://www.jotform.com/submissions/80157221787156
1/17/2018        JotForm · Submissions: Tesaro (TSRO)

(redacted)




  Signature




  Full Name
  Roger Bowers

  (redacted)
TESARO, INC. (TSRO)                                               Bowers, Roger

                          LIST OF PURCHASES AND SALES

                      PURCHASE          NUMBER OF             PRICE PER
      DATE             OR SALE         SHARES/UNITS          SHARES/UNITS

         10/3/2017         Purchase                     50            $125.0000
